                   UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                       Case No. 1:15-cv-00109-MR

                                       )
SANDRA M. PETERS, on behalf of herself )
and all others similarly situated,     )
                                       )
Plaintiff,                             ) PLAINTIFF’S MOTION FOR
                                       )   LEAVE TO FILE SUR-
v.                                     ) SURREPLY IN SUPPORT OF
                                       ) PLAINTIFF’S MOTION FOR
AETNA INC., AETNA LIFE INSURANCE )        CLASS CERTIFICATION
COMPANY, and OPTUMHEALTH CARE )
SOLUTIONS, INC.,                       )
                                       )
Defendants.                            )
                                       )

      Pursuant to Local Rule 7.1(e), Plaintiff hereby requests leave to file the

enclosed sur-surreply (Exhibit A hereto) in response to Defendants’ Surreply

Opposing Peters’ Motion for Class Certification (Dkt. No. 267). Leave should be

granted because Defendants present new arguments in their Surreply based on case

law that was available to them when they filed their supplemental opposition brief.

Cf. F.D.I.C. v. Cashion, No. 1:11CV72, 2012 WL 1098619, at *3 (W.D.N.C. Apr.

2, 2012) (“Generally, courts allow a party to file a surreply only when fairness

dictates based on new arguments raised in the previous reply.”), aff’d, 720 F.3d

169 (4th Cir. 2013). In fairness, Plaintiff should be permitted to respond briefly.

      The proposed four-page sur-surreply will not overburden the Court or



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unnecessarily multiply the proceedings.

      Plaintiff conferred with Defendants regarding this request. Defendants

oppose Plaintiff’s motion.

Dated: October 28, 2021                       Respectfully submitted,

                                              s/ Larry McDevitt
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